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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 ENBRIDGE ENERGY, LIMITED
 PARTNERSHIP, et al.,

        Plaintiffs,                                               Case No. 1:20-cv-1141

 v.                                                               HON. JANET T. NEFF

 GRETCHEN WHITMER, et al.,

        Defendants.
 ____________________________

 STATE OF MICHIGAN, et al.,

        Plaintiffs,
                                                                  Case No. 1:20-cv-1142
 v.
                                                                  HON. JANET T. NEFF
 ENBRIDGE ENERGY, LIMITED
 PARTNERSHIP, et al.,

        Defendants.
 ____________________________/


                                           ORDER

       Having reviewed the parties’ June 30, 2021 Joint Notice (ECF No. 26, ECF No. 1:20-cv-

1141; ECF No. 53, ECF No. 1:20-cv-1142),

       IT IS HEREBY ORDERED that the parties shall, not later than 7 days after entry of this

Order, file a Joint Notice identifying the date of the next mediation session and estimating the

amount of time needed to complete mediation.

Dated: July 1, 2021                                          /s/ Janet T. Neff
                                                           JANET T. NEFF
                                                           United States District Judge
